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12

13   UNITED STATES OF AMERICA,              ) CASE NO. CR-20-00068-CRB
                                            )
14           Plaintiff,                     ) GOVERNMENT’S RESPONSE TO COURT’S
                                            ) ORDER FOR INFORMATION
15      v.                                  )
                                            )
16   RAYA MAN,                              )
                                            )
17           Defendant.                     )
                                            )
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 1                                             INTRODUCTION

 2          The government files this response to the Court’s April 15, 2020 order that the government

 3 provide its position regarding (1) “whether the risk of contracting COVID-19 at Santa Rita Jail is greater

 4 than the risk if the inmate [Defendant Raya Man] were allowed to Shelter-at-Home”; and (2) “the

 5 number of motions for release that have been filed during the public health crisis where the defendant

 6 was previously detained after a contested detention hearing, and the number of such motions in which

 7 the USA has agreed to release.” Dkt. No. 25.

 8          Without knowing whether Defendant would shelter-in-place as ordered if released, the

 9 government cannot determine the Defendant’s relative risk of contracting COVID-19 in Santa Rita Jail

10 versus to being released. There are cases of COVID-19 in Santa Rita Jail, and social distancing and

11 some other recommended public health practices are difficult to implement in an institutional setting.

12 Nonetheless, given Defendant’s long history of dangerous and violent felonies and failures to abide by

13 court orders, there is no indication that this Defendant would abide by shelter-at-home orders if given

14 the opportunity to do so.

15          Accordingly, the government did not rely on the defendant’s relative risk of contracting COVID-

16 19 in arguing for Defendant’s continued detention. Instead, the government argued and continues to

17 argue that the dangerousness to the community posed by Defendant’s release significantly outweighs

18 any comparative risk of defendant contracting the infection at Santa Rita Jail versus sheltering-in-place.
19 Although an individual who strictly abided by shelter-in-place and social distancing orders would likely

20 be at lower risk of COVID-19 infection than if residing in Santa Rita Jail or any communal living

21 environment, whether and to what extent a defendant complied with shelter-in-place directives would

22 determine that defendant’s relative risk.

23          Pursuant to the Court’s order, the government surveyed cases in the district involving motions

24 for release that have been filed during the public health crisis in which the defendant was previously

25 detained after a contested detention hearing. The government’s survey found 30 such cases. The

26 government moved for detention in 29 of those cases based on the defendant’s dangerousness to the

27 community and/or risk of flight. The Court ordered nineteen of the defendants in such cases detained

28 following a reopened hearing. As is required by the Bail Reform Act, the government’s position in each

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 1 of these cases was determined by application of the Act’s factors to the individual defendant. The

 2 government has a duty to protect the public, not to focus exclusively on the needs of the defendant, and

 3 the positions it takes are with those considerations in mind. These positions are often at odds with those

 4 taken by the defense, who have a similar duty to advocate fiercely for their individual clients. The

 5 government greatly respects this process and the ultimate role of the court in determining whether to

 6 detain or release a defendant.

 7        I.        THE DEFENDANT’S RELATIVE RISK OF COVID-19 INFECTION

 8             A.     Background
 9             The Bail Reform Act (the “Act”) requires the government to make an individualized
10 determination as to whether to seek pretrial release or detention for each defendant in every case. In

11 analyzing whether to advocate for an individual defendant’s release or detention, the Act commands the

12 government to consider the safety of the community and therefore the risk that the defendant poses to

13 community safety if released. See 18 U.S.C. § 3142(f). Under the Act, the question is whether “any

14 condition or combination of conditions” can “reasonably assure … the safety of any other person and the

15 community.” Id.

16             Defendant presents an extraordinary risk of danger to the community. Prior to the instant case,
17 Defendant had been convicted of four violent felonies on three separate dates, including assault with a

18 firearm, assault with a deadly weapon, and assault with force likely to cause great bodily injury. In the
19 instant case, Defendant is alleged to have escalated a verbal argument by leaving the scene to retrieve a

20 handgun, which he is prohibited from possessing as a convicted felon. Defendant returned to the scene

21 (a crowded bar in San Francisco’s Tenderloin neighborhood), pointed the firearm at the bar’s proprietor,

22 and threatened him. Defendant then went to another bar next door and discarded the loaded pistol in the

23 wastebasket of a public restroom, furthering endangering the public by leaving a loaded firearm in an

24 easily accessible place. At the initial detention hearing, the Court ordered Defendant detained because

25 “no condition or combination of conditions will reasonably assure the safety of the community.” Dkt.

26 16, at 2. The Court emphasized “that the defendant has, several times, been convicted of felony offenses

27 involving violence.” Id. at 3.

28             The Act also requires consideration of the defendant’s physical and mental health. The relative
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 1 risk of infection from COVID-19 to a particular inmate incarcerated in versus released from Santa Rita

 2 Jail depends on a number of case-specific factors related to conditions within Santa Rita Jail and the

 3 defendant’s likely conduct if released to shelter-in-place. A defendant’s relative risk of infection also

 4 depends on whether he and others with whom he lives and interacts obey the shelter-in-place order.

 5 Accordingly, although institutional living tends to pose a greater risk of infection relative to sheltering-

 6 in-place in a private home, the relative risk is also contingent on additional factors.

 7           B.        Factors Affecting Likelihood of Infection Within Santa Rita Jail

 8           As a general matter, congregate environments such as Santa Rita Jail present a heightened

 9 potential for COVID-19 to spread once introduced. See https://www.cdc.gov/coronavirus/2019-

10 ncov/community/correction-detention/guidance-correctional-detention.html. COVID-19 has been

11 present in Santa Rita Jail since at least April 4, 2020. In total, as of this filing, Santa Rita Jail has

12 conducted a total of 87 tests yielding 50 negative, 31 positive, and 6 pending results as of April 20,

13 2020. See https://www.alamedacountysheriff.org/admin_covid19.php (last visited April 20, 2020). The

14 inmate population is currently 1,763. Id.1

15               Santa Rita Jail, as the court knows from prior filings, has numerous practices and procedures in

16 place to prevent the spread of COVID-19. Santa Rita Jail has expertise and experience to mitigate the

17 threat of COVID-19 infection spreading to Defendant and is working hard to prevent both the spread of

18 infection and the harm caused to inmates by infection.
19           Santa Rita Jail is divided into separate housing units (“HU”), which live separately from one

20 another. This means that an effective quarantine of a HU with COVID-19 infection may prevent the

21 spread of infection to inmates in other HUs. Therefore, the degree to which any given inmate in Santa

22 Rita Jail is at increased risk as compared with a member of the general public who is sheltering-in-place

23 depends in part on whether that inmate is or has been housed with other inmates who have tested

24 positive or shown symptoms of COVID-19.

25

26           1
            Both inside and outside Santa Rita Jail, the true infection rate is currently unknown. For
27 example, a very recent preprint study by Stanford researchers and others measured the seroprevalence of
   antibodies to COVID-19 among 3,330 un-incarcerated residents of Santa Clara County and found
28 evidence of 50-85 fold more infections than the number of confirmed cases. See
   https://www.medrxiv.org/content/10.1101/2020.04.14.20062463v1.
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 1          An inmate in a HU in which another inmate or staff member has COVID-19 would

 2 unquestionably be at higher risk of contracting the virus than a member of the public who was abiding

 3 by the rules of the mandated shelter-in-place order and living with others who were abiding by the order.

 4 An inmate in a HU in which there have not been identified COVID-19 cases or symptoms, however,

 5 would be at considerably lesser risk of infection than an inmate in a HU in which COVID-19 has been

 6 found.

 7          In this case, according to the Alameda County Sheriff’s Department inmate locator, Defendant is

 8 housed is HU 04E. See https://www.acgov.org/sheriff_app/ (last visited April 20, 2020). As of April

 9 20, 2020, HU 04E is not under quarantine or designated for inmates with known exposure to COVID-

10 positive persons. See https://www.alamedacountysheriff.org/admin_covid19.php (last visited April 20,

11 2020). Therefore, although Santa Rita Jail poses some risks of infection inherent in any communal

12 living environment, notwithstanding its comprehensive outbreak prevention plan and preventative

13 measures, the government is not aware of any evidence that Defendant in particular has been or will be

14 exposed to any COVID-positive person.

15          C.      Factors Affecting Likelihood of Infection Outside Santa Rita Jail

16          Release to the community pending trial likewise presents a risk of COVID-19 infection. The

17 relative risk of infection to Defendant if released depends on two case-specific factors: (1) Defendant’s

18 release plan, and (2) the likelihood that Defendant will follow that release plan.
19          Generally, plans that contemplate release to hygienic living situations in which a defendant can

20 appropriately social distance will present less risk of infection than plans that contemplate release to

21 unhygienic living situations or those in which a defendant cannot social distance. Another consideration

22 is with whom a defendant proposes to live. A defendant who shelters-in-place with individuals who are

23 themselves at high risk, such as healthcare workers, first responders, or persons who simply refuse to

24 shelter-in-place, would be at relatively greater risk than a defendant who shelters-in-place with persons

25 who are not themselves at high risk of infection.

26          However, even an optimal release plan will be for naught if a defendant cannot or will not abide

27 by the conditions of release and, in fact, shelter-in-place. Any defendant who has previously been

28 ordered detained has been found either to be a risk of non-appearance, a danger to the community, or

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 1 both. See 18 U.S.C. § 3142(e)(1). In many such cases, defendants who fall into this category have

 2 displayed previous inability or unwillingness to abide by laws, social norms, and court orders.

 3 Therefore, each case requires individualized assessment of both how well the defendant would be able

 4 to social distance if released and how likely it is that the defendant would follow legal directives do so.

 5          In this case, Defendant’s proposed plan was release to the private home and custody of two

 6 friends, one of whom is also Defendant’s pastor. Neither proposed custodian had an arrest history.

 7 Release to a private home in which there are only two other (apparently law-abiding) residents would

 8 give Defendant the ability to implement social distancing to a greater degree than incarceration in Santa

 9 Rita Jail. If Defendant strictly abided by shelter-in-place and social distancing orders, Defendant very

10 likely would be at lower risk of COVID-19 infection than if residing in Santa Rita Jail or any communal

11 living environment.

12          However, several factors cast doubt on whether Defendant would abide by any conditions of

13 release and, in fact, adhere to shelter-in-place and social distancing orders. First, Defendant’s criminal

14 history, which spans essentially his entire adult life, strongly suggests that he has an inability or

15 unwillingness to conform his behavior to laws, norms, and supervision conditions.

16          Second, as defense counsel conceded at the hearing on Defendant’s Motion for Release on April

17 15, 2020, Defendant struggles with substance abuse. Although defense counsel stated his belief that

18 Defendant would be able to refrain from leaving the home to purchase drugs, addiction is complicated
19 and difficult to predict. Sheltering-in-place in close quarters with other persons is challenging and

20 stressful and could lead Defendant to leave the home and seek controlled substances as a coping

21 strategy.

22          Finally, as the government noted at the same hearing, the alleged conduct in this case shows a

23 callous disregard for public safety, which gives the government serious doubt as to whether Defendant

24 would consider either his own safety or that of others if released. As discussed above, Defendant has a

25 long and very serious criminal history including four prior felony convictions for assaults with firearms,

26 deadly weapons, or force likely to cause great bodily injury. Defendant has repeatedly engaged in

27 violence against members of the community. In this case, Defendant is alleged to have possessed a

28 firearm in blatant disregard for the law and to have pointed that firearm directly at another person and

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 1 threatened him. These facts are not only germane to why the government initially sought detention, the

 2 Court ordered detention, and the government opposed Defendant’s subsequent motion for release. They

 3 also inform the government’s belief that Defendant would be unlikely to abide by release conditions or

 4 the shelter-in-place order. Such brazen indifference to the safety of others belies a contention that, if

 5 released, Defendant would shelter-in-place as required. If Defendant failed to do so, his own risk of

 6 infection would rise, as would the risk posed to his custodians and the community at large.

 7                                                          ***

 8             Given the history and characteristics of this defendant, including his criminal history, drug use,

 9 violent conduct, and disregard for the safety of others, the government has serious doubts about whether

10 Defendant would adhere to the shelter-in-place order. Therefore, although an individual who strictly

11 abided by shelter-in-place and social distancing orders would likely be at lower risk of COVID-19

12 infection than if residing in Santa Rita Jail or any communal living environment, it is impossible to say

13 whether Defendant would be so positioned given his history and characteristics.

14
         II.        SUMMARY OF MOTIONS FOR RELEASE BASED ON COVID-19 FOLLOWING A
15                  CONTESTED HEARING AND DETENTION ORDER
16             The table below summarizes government counsel’s compilation, to the best of his ability, of
17 cases in the United States District Court for the Northern District of California in which a defendant

18 moved for release during the current public health crisis following a contested detention hearing. Thirty
19 cases meet this criteria. The government moved for continued detention in 29 of these cases based on a

20 thorough, individualized application of the Bail Reform Act. The court ordered that the defendant

21 remain detained in 19 case, and one case remains pending. 2

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               2
26           Pursuant to the Court’s order, this summary does not include cases in which there was a motion
   for release based on COVID-19 following an initially uncontested detention. Motions were for release
27 from pre-trial detention in criminal matters except where indicated. In matters marked with an asterisk
   (*), defendant’s motion was filed post-conviction and pre-sentencing. In these matters, it is the
28 defendant’s  burden to prove by clear and convincing evidence that he or she is not likely to flee and
   does not pose a danger to the safety of any person or the community if released. 18 U.S.C. § 3143(a).
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 1    Defendant       Docket Charges                 Summary of                 Gov. Position      Disposition
                      Number                         Allegations                on Release at
 2                                                                              Reopened
                                                                                Hearing
 3
      Batiste,        19-CR-     Felon in            Defendant, on federal      Opposed, based     Detained
 4    Dominic         0421-      possession of       supervised release for     on defendant’s
                      CRB        firearm or          being felon in             dangerousness
 5                               ammunition, 18      possession of a            and risk of non-
                                 USC § 922(g)(1)     firearm, hid a loaded      appearance.
 6                                                   gun under a 12-year-
 7                                                   old cousin’s bed
                                                     during a parole search
 8                                                   of his uncle’s house.
                                                     Dkt. 38 at 2-3.
 9    Bodner,         20-CR-     Travel with         Defendant repeatedly       Opposed, based     Detained
      Paul            0038-      intent to engage    traveled to Vietnam        on defendant’s
10                    WHO        in illicit sexual   for several years to       dangerousness.
11                               conduct, 18 USC     engage in illicit sexual
                                 § 2423(b);          contact with minors,
12                               Engaging in         and tampered with
                                 illicit sexual      victim-witnesses after
13                               conduct abroad,     learning of the federal
                                 18 USC §            investigation. Dkt. 20
14
                                 2423(c)             at 5.
15    Bryant,         18-CR-     Felon in            Defendant pleaded          Opposed, based     Detained
      Jabari*         0036-      possession of       guilty to illegally        on defendant’s
16                    WHO        firearm or          possessing a firearm       dangerousness
                                 ammunition, 18      and ammunition and
17                               USC § 922(g)(1)     was convicted of new
                                                     state property crimes
18
                                                     while awaiting
19                                                   sentencing. Dkt. 40 at
                                                     3.
20    Cazarez,        18-CR-     Racketeering        Member of Norteno          Opposed, based     Released 3
      Michael         0466-      conspiracy, 18      street gang with           on defendant’s
21                    BLF        USC § 1962(d);      history of attempted       dangerousness
22                               Conspiracy to       murder, assault, and
                                 commit murder       drug trafficking
23                               in aid of           attempted to murder
                                 racketeering, 18    another inmate while
24                               USC §               in jail. Dkt. 330 at 5.
                                 1959(a)(5)
25

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28         3
                The government’s appeal to the district court is pending as of April 20, 2020.
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 1    Coats,       19-CR-   Use of firearm in    Defendant was a         Opposed, based       Detained
      Jamare       0313-    furtherance of       convicted felon and     on defendant’s
 2                 WHA      crime of violence    member of Mac Block dangerousness
                            resulting in         street gang charged
 3
                            death, 18 U.S.C.     with using a firearm to
 4                          §§ 924(j)(1), (2);   murder an individual.
                            Felon in             Dkt. 30 at 6-9.
 5                          possession of
                            firearm or
 6                          ammunition, 18
                            USC § 922(g)(1)
 7
      Cole,        19-CR-   Felon in             Defendant, a member       Opposed, based     Released
 8    Joshua       0439-    possession of        of the Case gang with     on defendant’s
                   YRG      firearm or           a history of firearms     dangerousness
 9                          ammunition, 18       convictions, possessed
                            USC § 922(g)(1)      a stolen firearm with a
10                                               loaded extended
11                                               magazine. Dkt. 39 at
                                                 4-5.
12    Daniels,     19-CR-   Felon in             Crip gang member          Opposed, based     Released
      Jeremy       0709-    possession of        with lengthy criminal     on defendant’s
13                 LHK      firearm or           history, including        dangerousness
                            ammunition, 18       violent crimes and
14
                            USC § 922(g)(1)      weapons charges, was
15                                               arrested for possessing
                                                 a handgun and
16                                               ammunition after
                                                 fleeing from police
17                                               during a traffic stop.
                                                 Dkt. 21 at 2-4.
18
      Dunn,        19-CR-   21 USC               Defendant, with prior     Opposed, based     Pending
19    Owen*        0436-    § 841(a)(1)/(b)(1    felony convictions        on defendant’s
                   WHA      )(C); Felon in       including unlawful        dangerousness
20                          possession of        sex act with a minor,     and risk of non-
                            firearm or           domestic violence,        appearance
21                          ammunition, 18       felon-in-possession of
                            USC § 922(g)(1)      a firearm, and drug
22
                                                 distribution, has again
23                                               been convicted of
                                                 distributing controlled
24                                               substances and
                                                 possessing a firearm.
25                                               Dkt. 32 at 2.
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 1    Ellis,     05-CR-    Supervised           While on supervised      Opposed, based     Detained
      Dornell    0167-     release violation:   release for a            on defendant’s
 2               WHA       Domestic             conviction relating to   dangerousness
                           battery, Cal.        his involvement in
 3
                           Penal Code           murder and other
 4                         § 243(e)(1);         violent crimes by the
                           Assault with a       Down Below
 5                         deadly weapon,       Gangsters street gang,
                           Cal. Penal Code      defendant assaulted
 6                         § 245(a)(1)          his girlfriend and
                                                another individual.
 7
                                                Dkt. 1962 at 2-4.
 8    Farca, Ross 19-CR-   False statement      Defendant falsely        Opposed, based     Detained
                  0643-    to government        claimed he did not       on defendant’s
 9                JST      agency, 18 USC       have mental health       dangerousness
                           § 1001(a)(2)         issues in order to
10                                              enlist in the army, in
11                                              which he was arrested
                                                for assaulting another
12                                              trainee and
                                                discharged. He also
13                                              made violent online
                                                anti-Semitic postings
14                                              inspired by recent
15                                              domestic terrorists.
                                                Dkt. 32 at 3-4.
16    Garcha,    19-CR-    Felon in             Defendant, previously    Opposed, based     Released
      Sandeep    0663-     possession of        convicted of             on defendant’s
17               EJD-1     firearm or           carjacking,              dangerousness
                           ammunition, 18       kidnapping, and          and risk of non-
18
                           USC § 922(g)(1)      robbery, possessed a     appearance
19                                              loaded handgun. Dkt.
                                                22 at 2-3.
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 1    Garcia,        20-CR-   Conspiracy to       Defendant engaged in      Opposed, based     Released
      David 4        0080-    distribute          a conspiracy to sell at   on risk of
 2                   BLF      methamphetamin      least several pounds      defendant’s non-
                              e, 21 USC §§        of methamphetamine.       appearance
 3
                              846, 841(a) /       Dkt. 1 at 5-6.
 4                            (b)(1)(C);
                              Possession with
 5                            intent to
                              distribute and
 6                            distribution of
                              500 grams and
 7
                              more of a
 8                            mixture
                              containing
 9                            methamphetamin
                              e, 21 USC §§
10                            841(a) /
11                            (b)(1)(A)
      Gerrans,       18-CR-   Wire fraud, 18      Defendant abused his      Opposed, based     Detained
12    Lawrence*      0310-    USC § 1343;         positions of authority    on defendant’s
      5
                     EMC      Money               to perpetrate an          dangerousness
13                            laundering, 18      elaborate fraud
                              USC § 1957          scheme. Dkt. 1 at 5-8.
14                                                He also conspired to
15                                                harm the prosecutor
                                                  assigned to his case.
16                                                Dkt. 207 at 3.
      Frank, Joe     19-CR-   Conspiracy to       While on supervised       Opposed, based     Detained
17                   43-YGR   possess with        release for using a       on defendant’s
                              intent to           firearm in furtherance    dangerousness
18
                              distribute and to   of a drug trafficking     and risk of non-
19                            distribute          offense, defendant        appearance
                              cocaine and         engaged in a
20                            cocaine base, 21    conspiracy to traffic
                              USC §§ 846,         cocaine and cocaine
21                            841(a)(1) /         base. Dkt. 224 at 2.
                              (b)(1)(B)
22

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27          4
            This defendant initially waived findings regarding detention but only after hearing the
   magistrate’s indicated intent to detain. The government includes this matter in an abundance of caution.
28        5
            This defendant is not detained in Santa Rita Jail.
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 1    Kramer,         16-CR-     Wire fraud, 18      Defendant has been        Opposed, based     Detained
      Fritz*          0322-      USC § 1343;         convicted on twelve       on defendant’s
 2                    EJD        Commodities         fraud charges for         dangerousness
                                 fraud, 18 USC §     orchestrating a gold      and risk of non-
 3
                                 1348                and diamond export        appearance
 4                                                   scheme that lasted
                                                     seven years and
 5                                                   stretched across five
                                                     continents. Dkt. 350
 6                                                   at 5.
 7    Man, Raya       20-CR-     Felon in            Defendant, previously     Opposed, based     Detained
                      0068-      possession of       convicted of four         on defendant’s
 8                    CRB        firearm or          violent felonies,         dangerousness
                                 ammunition /        pointed a loaded
 9                               Three prior         handgun at the victim
                                 violent felonies;   and threatened him in
10                               18 USC §§           a crowded bar. Dkt.
11                               922(g)(1)/924(e)    24 at 1.
      Manrique,       19-mj-     Extradition         Defendant, subject to     Opposed, based     Released
12    Alejandro 6     71055-                         an extradition request,   on risk of
                      MAG-1                          had falsely               defendant’s non-
13                                                   represented a lack of     appearance
                                                     available funds to the
14
                                                     court while concealing
15                                                   over $1 million in
                                                     assets. Dkt. 113 at 2-
16                                                   3.
      Mazariegos 20-CR-          Illegal reentry     Defendant, who has        Opposed, based     Detained
17    , Alexander 0003-          following           multiple prior            on defendant’s
                  EMC            removal, 8 USC      deportations and a        dangerousness
18
                                 § 1326(a)           history of stalking and   and risk of non-
19                                                   domestic violence         appearance
                                                     towards the mother of
20                                                   his child, previously
                                                     cut off his court-
21                                                   ordered electronic
                                                     monitoring device.
22
                                                     Dkt. 20 at 1-2.
23

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                This extradition matter is included in an abundance of caution.
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 1    McCoy,       09-CR-    Possession with   While on supervised        Opposed, based      Released
      Daniel*      0337-     intent to         release for being a        on defendant’s
 2                 JD; 19-   distribute        felon in possession of     dangerousness
                   CR-       methamphetamin    a firearm and              and risk of non-
 3
                   0067-JD   e, 21 USC §§      possessing cocaine         appearance
 4                           841(a)(1) /       base with intent to
                             (b)(1)(C)         distribute it, defendant
 5                                             was selling
                                               methamphetamine on
 6                                             the street while in
                                               possession of
 7
                                               numerous other
 8                                             controlled substances.
                                               Dkt. 92 at 5-6.
 9    Parmer,      18-CR-  Distribution of     Defendant, who has a       Opposed, based      Released
      Richard      0267-RS child               prior conviction for a     on defendant’s
10                         pornography, 18     hands-on sexual            dangerousness
11                         USC §               assault of a minor by
                           2252(a)(2);         force or threat of
12                         Possession of       force, uploaded to a
                           child               peer-to-peer file
13                         pornography, 18     sharing service
                           USC §               hundreds of files
14                         2252(a)(4)(B)       showing minors
15                                             engaged in sexually
                                               explicit conduct. Dkt.
16                                             120 at 5-6.
      Phillips,    20-CR-    Distribution of   Defendant sent an          Opposed, based      Detained
17    Jeffrey      0099-     child             undercover officer a       on defendant’s
                   JST       pornography, 18   video showing a            dangerousness
18
                             USC §             prepubescent female
19                           2252(a)(2);       engaged in sexually
                             Possession of     explicit conduct and
20                           child             described to the
                             pornography, 18   officer sexual conduct
21                           USC §             he had with a minor
                             2252(a)(4)(B)     female. Dkt. 27 at 7.
22
      Ramos Jr.,   19-CR-    Possession with   During execution of        No position,        Temporarily
23    Ray*         0187-     intent to         search warrant at          based on            released
                   EJD       distribute        defendant’s home,          defendant’s
24                           cocaine, 21 USC   police found over          health profile
                             § 841(a)(1) /     twenty firearms,           and release plan.
25                           (b)(1)(C)         ammunition, and
26                                             cocaine. Dkt. 23 at 1-
                                               2.
27

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 1    Rubin,       18-CR-  Interference with     Brandished, carried,      Opposed, based     Detained
      Lembrent     0568-   interstate            or used a firearm to      on defendant’s
 2                 CRB     commerce by           rob a San Francisco       dangerousness
                           robbery, 18 USC       pharmacy of
 3
                           § 1951(a);            controlled substances.
 4                         Brandishing a         Dkt. 1 at 4-5.
                           firearm in
 5                         furtherance of a
                           crime of
 6                         violence, 18
                           USC § 924(c)
 7
      Saliba,      20-CR-  Felon in              Defendant was found       Opposed, based     Detained
 8    Christophe   0041-   possession of         in public in possession   on defendant’s
      r            RS; 16- firearm or            of a loaded semi-         dangerousness
 9                 CR-     ammunition, 18        automatic handgun,        and risk of non-
                   0109-RS USC § 922(g)(1)       methamphetamine,          appearance
10                                               and almost $3,000 in
11                                               cash. Dkt. 21 at 1.
      Sanchez,     19-CR-   Possession with      During execution of       Opposed, based     Detained
12    Miguel       0576-    intent to            search warrant at         on defendant’s
                   VC       distribute           defendant’s home,         dangerousness
13                          cocaine, 21 USC      police found a loaded     and risk of non-
                            §§ 841(a)(1) /       handgun and over two      appearance
14
                            (b)(1)(B); Felon     pounds of cocaine.
15                          in possession of     Dkt. 22 at 1.
                            firearm or
16                          ammunition,18
                            USC § 922(g)(1)
17    Traore,      20-CR-   False statement      Defendant engaged in      Opposed, based     Detained
      Mustapha*    0029-    in application for   decades-long use of       on risk of
18
                   VC       passport, 18 USC     fake identities and       defendant’s non-
19                          1542                 took steps to flee the    appearance
                                                 United States
20                                               following his
                                                 involvement in a
21                                               murder as an
                                                 accessory. Dkt. 26 at
22
                                                 2, 4-5.
23

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 1    Trujillo,     20-CR-     Felon in            Felon with 25-year        Opposed, based     Temporarily
      Armando       0028-      possession of       criminal history and      on defendant’s     released 7
 2                  EJD        firearm or          convictions for crimes    dangerousness
                               ammunition 18       of violence as recent     and risk of non-
 3
                               USC § 922(g)(1)     as 2008 and 2011          appearance
 4                                                 possessed a loaded
                                                   semi-automatic
 5                                                 handgun. Dkt. 12 at
                                                   3.
 6    Walsh,        19-CR-     Possession of       A search of               Opposed, based     Detained 8
 7    Trevor*       0232-      machineguns, 18     defendant’s residence     on defendant’s
                    WHA        USC § 922(o)        revealed two              dangerousness
 8                                                 machineguns,              and risk of non-
                                                   ammunition, silencers,    appearance
 9                                                 drugs, and drug
                                                   paraphernalia. Dkt.
10                                                 42 at 2-3.
11    Lara-         16-CR-     Illegal reentry     Defendant is a            Opposed, based     Detained
      Vargas,       0264-      following           previous deportee         on defendant’s
12    Ysauro        LHK        removal, 8 USC      with convictions for      dangerousness
                               § 1326(a)           robbery and assault       and risk of non-
13                                                 with a deadly weapon,     appearance
                                                   with a gang
14
                                                   enhancement. Dkt. 18
15                                                 at 2-3.
      Washingto     19-CR-     Conspiracy to       Defendant was a shift-    Opposed, based     Detained
16    n, Darryl     0043-      distribute 280      leader in an open-air     on defendant’s
                    YGR        grams or more of    drug market and sold      dangerousness
17                             cocaine base, 21    a machinegun to an
                               USC §§ 846,         informant. Dkt. 212
18
                               841(a)/(b)(1)(A);   at 3.
19                             Possession of a
                               machine gun, 18
20                             USC § 922(o);
                               Felon in
21                             possession of a
22                             firearm or
                               ammunition; §
23                             18 USC
                               922(g)(1)
24

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          7
            The magistrate denied the motion for release, and the district court reversed in part, ordering a
27 60-day temporary release but not overturning the detention order.
          8
28          Following his sentencing, defendant filed a second, further motion for release, which is
   pending.
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 1 DATED: April 20, 2020                            Respectfully submitted,

 2                                                  DAVID L. ANDERSON
                                                    United States Attorney
 3

 4
                                                    _________/s/_______________
 5                                                  RICHARD EWENSTEIN
                                                    Assistant United States Attorney
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